      Case 1:16-cr-00023-JRH-BKE Document 116 Filed 06/21/16 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )          CR 116-023
                                             )
MICHAEL OTTEY                                )
DORZDOWSKI CHANCE                            )
JEROME SHAW                                  )

                                        _________

                                        ORDER
                                        _________

       Counsel in the above-captioned case have advised the Court that all pretrial motions

have been satisfied or otherwise resolved. (See doc. no. 114.) Therefore, a motions hearing

for Defendants is not necessary, and all pending motions are MOOT. (Doc. nos. 12-13, 15-

35, 37-57, 92, 94-100.)

       SO ORDERED this 21st day of June, 2016, at Augusta, Georgia.
